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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                                      NO. 19-cr-00113

VERSUS                                                        JUDGE SUSIE MORGAN

MARTHA BUEZO MARTINEZ                                         MAG. JUDGE MICHAEL NORTH



                                      UNDER SEAL
               MOTION FOR DOWNWARD DEPARTURE AND VARIANCE

        NOW INTO COURT, through undersigned counsel, comes defendant, MARTHA BUEZO

MARTINEZ, who moves this Court for a downward departure and/or variance from the sentencing

range described in ¶ 60 of the Presentence Investigative Report (“PSR”). The PSR provides a basis

and reasons for a variance and the totality of Ms. Martinez’s circumstances favor a reduced

sentence, through a motion for variance under 18 U.S.C. 3553(a). The PSR, ¶¶ 72 – 74, suggests,

without recommendation, that variance factors under 18 U.S.C. 3553(a), include that Ms. Martinez

is 50 (now 51) and the instant offense is her only conviction. Considering the seriousness and

nature of the offense, under 18 U.S.C. 3553(a), the probation report notes that “[t]he instant offense

did not involve a danger to the public or risk to public safety.” See PSR ¶ 74. Lastly, the PSR notes

that Ms. Martinez has a stable work history and could begin paying restitution immediately, which

she has already begun doing. Ms. Martinez has already paid $35,000.00 in restitution and these

payments were made during the economic downturn caused by the COVID-19 pandemic.

Additionally, as set forth in the attached Memorandum in Support, downward variances have been

granted in similar situations in this District.




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       WHEREFORE, for the reasons stated herein and in the Memorandum in Support,

defendant MARTHA BUEZO MARTINEZ, respectfully requests that a downward variance be

GRANTED and that she is sentenced to a period probation, or at least home confinement, in lieu

of incarceration.



                                                             Respectfully submitted,

                                                             /s/ Brian J. Capitelli
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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 7th day of July 2021, I electronically filed the foregoing with

the Clerk of Court and provided a copy to counsel for the Government, AUSA Duane Evans.

                                                             /s/ Brian J. Capitelli
                                                             BRIAN J. CAPITELLI




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